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                                                                 June 1, 2023

Via ECF
The Honorable Paul G. Gardephe
Unite States District Court, Southern District of New York
Federal Building and United States Courthouse
40 Foley Square, Room 2204
New York, NY 10007

        Re:       Stephen Mills v. AmTrust Financial Services, Inc.
                  Case No.: 23-cv-02299

Dear Judge Gardephe,

       This firm represents Plaintiff Stephen Mills (“Plaintiff”) in connection with the
above-referenced case. We write in response to Defendant’s letter dated May 30, 2023,
requesting a pre-motion conference in connection with its anticipated motion to partially
dismiss Plaintiff’s Complaint. Defendant’s anticipated partial motion to dismiss is
baseless and would be a waste of judicial resources. Even if permitted to proceed,
discovery should be continued rather than be unnecessarily delayed due to the motion.

           I.     BACKGROUND

       Defendant discriminated against Plaintiff based upon his familial status and/or
caregiver status in violation of the New York Human Rights Law (“NYSHRL”) and New
York City Human Rights Law (“NYCHRL”) and retaliated against him following his
engagement in protected activity when he requested parental leave, in violation of the
Family Medical Leave Act (“FMLA”).

       With respect to Plaintiff’s familial status and/or caregiver status discrimination
claims, Defendant denied Plaintiff a promotion and terminated his employment after
Plaintiff disclosed that he was expecting a child and would take paternity leave upon the
birth of said child. (Complaint (“Compl.”), ECF Dkt No. 1, at ¶ 25.




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       As set forth below, Plaintiff adequately pled NYSHRL and NYCHRL
discrimination claims and therefore, Defendant’s request for a pre-motion conference and
intended motion to dismiss should be denied.

          II.    PLAINTIFF ALLEGED A PLAUSIBLE CLAIM OF DISCRIMINATION
                 UNDER NYSHRL

       At the pleading stage, a plaintiff is not required to prove discrimination or even
allege facts establishing every element of a prima facie case. Littlejohn v. City of NY, 795
F.3d 297, 311 (2d Cir. 2015). Rather, “a plaintiff need only give plausible support to a
minimal inference of discriminatory motivation.” Vega v. Hempstead Union Free Sch. Dist.,
801 F.3d 72, 84 (2d Cir. 2015) (citing Littlejohn, 795 F.3d at 311).

       Under NYSHRL, it is unlawful “for an employer to discriminate because of an
individual’s…familial status…” N.Y. Human Rights Law § 296.1. NYSHRL defines
“familial status” as “any person who is pregnant or has a child…” Id., at § 292.26. The
New York State Division of Human Rights issued guidance for New York State
employers explaining, in relevant part, “[f]amilial status discrimination occurs when
employment decisions are based on familial status, which would include, but not limited
to, making an employment decision…based on belief that someone with children will not
be a reliable employee…because of any other stereotyped belief or opinion about parents
or guardians of children under the age of 18.”1

       State and federal courts in New York have recognized associational discrimination
claims under the NYSHRL. Canales v. ACP Facility Servs., Inc., 2019 WL 1171479, at *4
(E.D.N.Y. Mar. 13, 2019) (finding that the plaintiff could assert an associational
discrimination claim under NYSHRL and rejecting the defendant’s argument that
NYSHRL only prohibits discrimination against individuals who are themselves a
member of a protected class) (citing Venezia v. Luxoticca Retail North America, Inc., 2015
WL 5692146, at *4 (S.D.N.Y. Sept. 28, 2015); Chiara v. Town of New Castle, 2 N.Y.S. 3d 132,
140 (App. Div. 2d Dep't 2015); Simmons v. Woodycrest Ctr. For Human Development, Inc.,
2011 WL 855942, at *3 (S.D.N.Y. March 9, 2011).




1
 New York State Division of Human Rights, Guidance on Familial Status Discrimination for Employers in New
York State, https://dhr.ny.gov/system/files/documents/2022/05/guidance-familial-status-employers.pdf (2022).
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        In the instant case, Plaintiff alleges that he was discriminated against based upon
his association with his pregnant wife and his anticipated membership in the protected
class. Accordingly, Plaintiff established membership in a protected class based upon his
familial status due to his association with his pregnant wife and expected child.
Specifically, Plaintiff plausibly alleged that he submitted a parental leave request in
anticipation of the birth of his child in Fall 2021 and that shortly after disclosing that he
and his wife were expecting a child and submitting said parental leave request,
Defendant discriminated against him by denying him a promised promotional
opportunity and unlawfully terminating his employment on the pretextual basis that it
eliminated his role. (Compl., at ¶¶ 16-28). Plaintiff also plausibly alleged that, on multiple
occasions, Senior Vice President of Global Marketing and Communications Hunter
Hoffman (“Hoffman”) made discriminatory comments about employees who had
children and utilized parental leave. (Id., at ¶¶ 15, 23).

       As such, Plaintiff plausibly alleged that Defendant’s actions were due to a
discriminatory motivation based upon Plaintiff’s familial status. See Vega, 801 F.3d 72, 84
(2d Cir. 2015) (citing Littlejohn, 795 F.3d at 311).

       III.   PLAINTIFF ALLEGED A PLAUSIBLE CLAIM OF DISCRIMINATION
              UNDER NYCHRL

       Under the NYCHRL, it is unlawful for an employer to discriminate against an
employee because of said employee’s “actual or perceived…caregiver status.” N.Y.
Admin. Code § 8-107(1)(a). In the instant case, for the same reasons outlined above,
Plaintiff plausibly alleged that he was discriminated against based upon his anticipated
membership in a protected class—familial status and/or caregiver status. Certainly, he
was perceived to be a caregiver given his request for time off to fulfill those
responsibilities for his wife and soon-to-be-born child.

       In light of the foregoing, this Court should deny Defendant’s request for a pre-
motion conference in connection with its anticipated motion to dismiss Plaintiff’s
NYSHRL and NYCHRL claims. Even if the Defendant is permitted to make its motion,
there is no basis to stay discovery as Plaintiff’s claims under the Family Medical Leave
Act, which Defendant does not intend to move to dismiss, would evoke the identical
information and questions in discovery. Brooks v. Macy's, Inc., 2010 U.S. Dist. LEXIS
135415, 2010 WL 5297756, at *1 (S.D.N.Y. Dec. 21, 2010) (discovery is only automatically
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stayed in cases covered by the Private Securities Litigation Reform Act), reh'g denied, 2011
U.S. Dist. LEXIS 38585, 2011 WL 1362191 (S.D.N.Y. Apr. 8, 2011). Given that the
Defendant has not requested that discovery be stayed, discovery should continue during
the motion’s pendency.

       We appreciate the Court’s attention and consideration.

                                                 Respectfully submitted,




                                                 Samantha E. Hudler

                                                 The Rose Law Group PLLC

                                                         /s/Jesse C. Rose    ___
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cc:    Counsel of Record (via ECF)
